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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                        Hon. Claire C. Cecchi


                  v.                            Criminal No. 19-877


MATTHEW BRENT GOETTSCHE                      ORDER FOR CONTINUANCE


      This matter having come before the Court on the joint application of the

United States, by Philip R. Sellinger, United States Attorney for the District of

New Jersey (by Anthony P. Torntore, Assistant U.S. Attorney, appearing), and

defendant MATTHEW BRENT GOETTSCHE (Rodney Villazor, Esq., 6HDQ

%XFNOH\, Esq., and 0DWWKHZ0HQFKHO, Esq., appearing), for an order granting a

continuance of proceedings in the above-captioned matter; and the defendant

being aware that he has the right to have this matter brought to trial within 70

days of the date of his appearance before a judicial officer of this court

pursuant to 18 U.S.C. § 3161(c)(1); and the defendant having consented to

such continuance and having waived such right; and for good cause shown,

      IT IS THE FINDING OF THIS COURT that this action should be

continued for the following reasons:

      1.     This case is an unusual or complex case within the meaning of the

Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(B)(ii), in light of the nature of the

prosecution, and the existence of novel questions of fact and law such that it is

unreasonable to expect adequate preparation for pretrial proceedings or for the

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trial itself within 70 days.

      2. The discovery in the case is voluminous, consisting of,

among other things, the review of nearly two million electronic records, several

different images and extractions of digital devices, the reconstitution and

review of copies of website servers, and server data produced to the

Government from Romania, and additional time is necessary to ensure that,

taking into account the exercise of diligence, defense counsel has sufficient

time to review and inspect discovery and further investigate the charges in this

matter.

      3. The parties continue to engage in discussions that may lead to the

resolution of this case without the need for a trial; continuing this matter may

likely save judicial resources and the parties’ resources.

      4. As a result of the foregoing, pursuant to 18 U.S.C. § 3161(h)(7)(A)

and (h)(7)(B)(ii) and (iv), the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendant in a

speedy trial.

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      IT IS, therefore, on this BBBBGD\RINovember 202,

      (1)       ORDERED that this action be, and hereby is, continued until

                -DQXDU\, 202, and it is further




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      (2)   ORDERED that the period from the date of this order through

-DQXDU\, be and it hereby is excluded in computing time

undertheSpeedy Trial Act of 1974, 18 U.S.C. § 3161 et seq.




                                     __________________________________
                                     Honorable Claire C. Cecchi
                                     United States District Judge
Consented to as to form and entry:


S/ ANTHONY P. TORNTORE
Anthony P. Torntore
Assistant U.S. Attorney



S/ RODNEY VILLAZOR
Rodney Villazor, Esq.
6HDQ%XFNOH\, Esq.
0DWWKHZ0HQFKHO, Esq.
Counsel for Defendant Matthew Brent Goettsche




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